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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. No. 1596


        MOTION FOR ENTRY OF AN ORDER SHORTENING THE TIME FOR
         NOTICE OF MOTION OF DEBTORS FOR ENTRY OF AN ORDER (I)
       AUTHORIZING AND APPROVING SALE OF DEBTORS’ INTERESTS IN
         SCHF CAYMAN, L.P. FREE AND CLEAR OF ALL LIENS, CLAIMS,
     INTERESTS AND ENCUMBRANCES; (II) AUTHORIZING AND APPROVING
      DEBTORS’ ENTRY INTO, AND PERFORMANCE UNDER, THE PURCHASE
          AND SALE AGREEMENT; (III) AUTHORIZING AND APPROVING
       ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS; AND (IV)
                       GRANTING RELATED RELIEF

         FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the

“Debtors”), by and through their undersigned counsel, hereby submit this motion (the “Motion to

Shorten”) for entry of an order, substantially in the form attached hereto as Exhibit 1 (the “Order”),

shortening the time for notice of the hearing to consider the Motion of Debtors for Entry of an

Order (I) Authorizing and Approving Sale of Debtors’ Interests in SCHF Cayman, L.P. Free and

Clear of All Liens, Claims, Interests and Encumbrances; (II) Authorizing and Approving Debtors’

Entry Into, and Performance Under, the Purchase and Sale Agreement; (III) Authorizing and

Approving Assumption and Assignment of Certain Contracts; and (IV) Granting Related Relief




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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(the “Sale Motion”).2 The Sale Motion is being filed and served contemporaneously herewith.

The Debtors respectfully request that the Court hear the Sale Motion at the June 28, 2023, hearing

at 1:00 p.m. (ET) (the “June 28 Hearing”) and set an objection deadline of June 22, 2023, at 4:00

p.m. (ET) (the “Objection Deadline”).                 In support of the Motion to Shorten, the Debtors

respectfully represent as follows:

                                       JURISDICTION AND VENUE

         1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this Motion to Shorten pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the Court may enter a final order consistent with Article III of the United States

Constitution.3

         2.       The legal predicates for the relief requested herein are section 105(a) of title 11 of

the United States Code, 11 U.S.C. §§ 101, et seq. (as amended or modified, the “Bankruptcy

Code”), rules 2002(a)(3) and 9006(c)(1) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Local Rule 9006-1(e).

         3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 BACKGROUND

         4.       On November 11 and November 14, 2022, the Debtors filed with the Court




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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Motion.
3
    Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States
    Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors hereby confirm their consent to
    entry of a final order by the Court in connection with this Motion to Shorten if it is later determined that the Court,
    absent consent of the parties, cannot enter final orders or judgments consistent with Article III of the United States
    Constitution.

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voluntary petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. On November 22, 2022, the Court entered an order

authorizing joint administration of the Debtors’ cases (the “Chapter 11 Cases”) [D.I. 128]. On

December 15, 2022, the Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”) pursuant to

section 1102 of the Bankruptcy Code [D.I. 231].

         5.       Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the Supplemental

Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the Supplemental

Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

         6.       Contemporaneously herewith, the Debtors filed the Sale Motion. Through the Sale

Motion the Debtors seek an order (a) authorizing and approving the Sale Transaction of the

Interests held by the Debtors in the Subject Company free and clear of all liens, claims, interests

and encumbrances in accordance with the terms and conditions set forth in the Agreement;

(b) authorizing and approving the Debtors’ entry into, and performance under, Agreement,

between Seller and Purchaser; (c) authorizing and approving the assumption and assignment of the

LPA, and the Operative Documents; and (d) granting of related relief.

                                      RELIEF REQUESTED

         7.       By this Motion to Shorten, the Debtors request, pursuant to Bankruptcy Code

section 105(a), Bankruptcy Rules 9006(c)(1) and 2002(a)(2), and Local Rule 9006-1(e), that the



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Court shorten the notice required for a hearing on the Sale Motion so that it may be heard at the

June Hearing on June 28, 2023, at 1:00 p.m. (ET), with the Objection Deadline of 4:00 p.m. (ET)

on June 21, 2023.

                                        BASIS FOR RELIEF

         8.       Bankruptcy Code section 105(a) provides that the Court “may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

Moreover, “when an act is required or allowed to be done at or within a specified time by these

rules or by a notice given thereunder or by order of court, the court for cause shown may in its

discretion with or without motion or notice order the period reduced.” Fed. R. Bankr. P.

9006(c)(1). The Local Rules authorize the Court to order that a motion be heard on less notice

than is required by the Bankruptcy Rules and provide that the Court may rule on a motion for the

same “promptly without need for a hearing.” Del. Bankr. L.R. 9006-1(e).

         9.       Where a motion proposes the use of, sale, or lease or property of the estate outside

of the ordinary course of business, parties must provide at least twenty-one (21) days’ notice

pursuant to Bankruptcy Rule 2002(a)(2). Local Rule 9006-1(c)(ii) requires the deadline for

objections to be no later than seven (7) days before the hearing date. However, the Court may

order that a motion be heard on less notice than required upon “written motion (served on all

interested parties) specifying the exigencies justifying shortened notice.” Local Rule 9006-1(e).

No hearing on such a motion to shorten is required. See id.

         10.      Here, there is sufficient cause to grant the Motion to Shorten. The Interests in the

Subject Company are held in a fund managed by SCHF (GPE), LLC (the “General Partner”). The

General Partner only permits transfers of interests in this fund at fiscal year quarter end. In

addition, the Agreement provides that the parties may terminate the Agreement if the Sale



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Transaction is not consummated by July 1, 2023. Therefore, unless the Debtors obtain approval

of the relief requested in the Sale Motion before June 30, 2023, the Sale Transaction may not occur

and may be terminated.

         11.      Furthermore, the Debtors acquired the Interests in the Subject Company on June

30, 2022, with an aggregate capital commitment of $100,000,000 and had funded $25,000,000 as

of the Petition Date. As of the filing of the Sale Motion, $75,000,000 of the Debtors’ capital

commitments to the Subject Company remain unfunded and the Debtors are in default on

$25,000,000 of an incremental funding commitment that was due January 3, 2023, on which

interest is accruing daily. Additionally, the Debtors understand that a further Capital Call is

expected to be issued with a due date of July 3, 2023, pursuant to which the Debtors would be

obligated to make an additional incremental funding commitment of $25,000,000. Therefore, if

the Debtors are unable to close the Sale Transaction on June 30, 2023, default interest will continue

to accrue and the Debtors will incur an additional funding obligation, unnecessarily squandering

estate assets.

         12.      The Debtors will promptly serve the Sale Motion, thus giving parties-in-interest

twenty (20) days’ notice prior to the hearing on the Sale Motion, only one (1) day less than regular

notice under Bankruptcy Rule 2002(a)(2). Given the critical circumstances driving the need to

complete the Sale Transaction on June 30, 2023, the Debtors respectfully request shortened notice

as set forth herein.

         13.      Consistent with its obligations under Local Rule 9006-1(e), undersigned counsel

notified the U.S. Trustee and the Committee of the Debtors’ intent to request shortened notice and

requested their consent to do so. The U.S. Trustee confirmed that it does not object to the relief

requested herein. As of the filing of the Motion to Shorten, the Debtors have not received the



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Committee’s position regarding the request for shortened notice set forth herein. Thus, for the

reasons stated above, the Debtors respectfully request that the Court shorten notice as set forth

herein.

          14.     Together, Bankruptcy Code section 105(a), Bankruptcy Rule 9006(c)(1) and Local

Rule 9006-1(e) provide ample authority for the Court to afford the relief requested in the Motion

to Shorten. Therefore, the Debtors respectfully request that the Motion to Shorten be granted at

the Court’s earliest convenience.

                               NOTICE AND NO PRIOR REQUEST

          15.     Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) counsel to the

Committee; (c) any known affected creditor(s) asserting a lien, claim or encumbrance against, or

interest in, the relevant Interests; (d) the non-Debtor counterparties to all executory contracts that

the Debtors propose to assume or assume and assign in connection with such sale, as applicable;

(e) the Subject Company; (f) any party that has expressed an interest in purchasing the Interests

during the last six months; (g) any interested or affected governmental or regulatory entity,

including the Internal Revenue Service, the Securities and Exchange Commission and the United

States Department of Justice; and (h) any other party that has requested notice pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be provided.

          16.     No previous request for the relief requested herein has been made to this or any

other court.




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         WHEREFORE, the Debtors respectfully request that this Court enter an order granting the

relief requested herein and such other and further relief as is just and just and proper.



Dated: June 8, 2023                          LANDIS RATH & COBB LLP
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